
852 So.2d 1044 (2003)
The TIMES PICAYUNE PUBLISHING CORPORATION and Susan Finch
v.
The BOARD OF SUPERVISORS OF LOUISIANA STATE UNIVERSITY and Agricultural and Mechanical College, Dr. William L. Jenkins as President of the Louisiana State University System and Secretary of the Board of Supervisors, the State of Louisiana Through the Division of Administration and William J. Kling, Jr., Acting State Risk Director and Deputy Undersecretary of the Division of Administration.
No. 2003-C-1589.
Supreme Court of Louisiana.
September 5, 2003.
*1045 Denied.
KNOLL, J., recused.
